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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                             )
                     Plaintiff,                       )
                                                      )
       vs.                                            )      Case No. 11-40007-02-RDR
                                                      )
NATHAN W. JACOBSON,                                   )
                               Defendant.             )
                                                      )

                                            ORDER

       NOW on this 20th day of October, 2011, the above-entitled matter comes before the Court

upon the motion of counsel for the accused, Nathan W. Jacobson, for an order granting two (2)

weeks’ additional time to file motions herein. The Court, after reviewing the motion and being fully

advised in the premises finds that there exists good cause for the motion, and that the motion should

therefore be sustained.

       The Court finds that additional time is needed because the parties have entered into

negotiations, and they may be able to resolve this matter without the necessity of filing motions.

       The Court further finds that the prosecutor has no objection to the motion.

       The Court further finds that failure to grant the extension would result in a miscarriage of

justice and deny the defendant due process.

       The Court finds that the period of delay resulting from the additional time granted pursuant

to this Order shall be excludable time as provided for in 18 U.S.C. 3161(h)(7) in that the ends of

justice served by the granting of such motion outweigh the best interest of the public and the

defendant in a speedy trial.

       IT IS THEREFORE ORDERED that the accused, Nathan W. Jacobson, shall have two (2)

weeks’ additional time up to and including November 3, 2011 to file motions in the above-entitled

action, and the government shall have until November 14, 2011 to file responses. The hearing on

said motions is hereby rescheduled to December 2, 2011 at 10:30 a.m. The period of delay resulting
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from such continuance shall be excludable time as provided for by the Speedy Trial Act, 18 U.S.C.

3161(h)(7).


                                            s/Richard D. Rogers
                                            United States District Judge




                                               2
